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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


LASERDYNAMICS, INC.,                              §
                                                  §
                    Plaintiff,                    §        CIVIL ACTION NO.: 2-06CV-348
                                                  §
v.                                                §
                                                  §
ASUS COMPUTER INTERNATIONAL;                      §        JURY TRIAL DEMANDED
QUANTA STORAGE AMERICA, INC.;                     §
QUANTA COMPUTER USA, INC.;                        §
ASUSTEK COMPUTER, INC.;                           §
QUANTA STORAGE, INC.; AND                         §
QUANTA COMPUTER, INC.,                            §
                                                  §
                    Defendants.                   §

                                 PLAINTIFFS’ BRIEF IN SUPPORT OF ITS
                                      MOTION IN LIMINE NO. 14
                                      [INEQUITABLE CONDUCT]

          Plaintiff, LaserDynamics, Inc. (“LaserDynamics”), file this brief in support of its motion

requesting the Court to enter an order in limine precluding the Asus Defendants and the Quanta

Defendants, or their expert witnesses, from mentioning, referring to, or attempting to introduce

evidence of alleged inequitable conduct on the part of Yasuo Kamatani in prosecuting the ‘981

patent.

          Both the Asus and Quanta Defendants have asserted an inequitable conduct defense.

Defendants may attempt to offer evidence on this defense at trial.

          The Court should preclude any evidence, statement, or argument regarding Defendants’

allegation that the ‘981 patent is unenforceable as the result of any inequitable conduct, because

inequitable conduct defense is an equitable defense and therefore Defendants have no right to a

jury trial on that defense. The decision on inequitable conduct is made by the trial judge based

on his own findings of fact.


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                                                I.
                                             ARGUMENT

          A.        The Issue of Inequitable Conduct and Any Necessary Factual
                    Determinations Concerning That Defense Must Be Decided by the Court

          The question of whether inequitable conduct occurred in this case is equitable in nature.

Solarex Corp. v. Arco Solar, Inc., 870 F.2d 642, 644 n.2 (Fed. Cir. 1989). See also Kingsdown

Medical Consultants, Ltd. v. Hollister Inc., 863 F.2d 867, 876 (Fed. Cir. 1988), cert. denied, 490

U.S. 1067 (1989); Gardco Mfg., Inc. v. Herst Lighting Co., 820 F.2d 1209, 1212 (Fed. Cir.

1987). It is not an issue for the jury to decide. Perseptive Biosystems, Inc. v. Pharmacia

Biotech, Inc., 225 F.3d 1315, 1318 (Fed. Cir. 2000) (“The defense of inequitable conduct is

entirely equitable in nature, and thus not an issue for a jury to decide.”). See also Bd. Of Educ. v.

American Bioscience, Inc., 333 F.3d 1330, 1343 (Fed. Cir. 2003) (“In light of all the

circumstances, the court must then determine whether the applicant’s conduct is so culpable that

the patent should be held unenforceable.”); Hoffman-La Roche, Inc. v. Promega Corp., 323 F.3d

1354, 1359 (Fed. Cir. 2003) (“Once the requisite levels of materiality and intent are shown, the

district court must determine whether the equities warrant a conclusion that the patentee has

engaged in inequitable conduct.”); General Electro Music Corp. v. Samick Music Corp., 19 F.3d

1405, 1408 (Fed. Cir. 1994) (“The disputed issues of fact underlying the issue of inequitable

conduct are not jury questions, the issue being entirely equitable in nature.”); Paragon Podiatry

Laboratory, Inc. v. KLM Laboratories, Inc., 984 F.2d 1182,1190 (Fed. Cir. 1993) (per curiam)

(“The defense of inequitable conduct in a patent suit, being entirely equitable in nature, is not an

issue for a jury to decide.”) As the Federal Circuit declared in American Bioscience:

                    Determination of inequitable conduct requires a two-step analysis.
                    First, the trial court must determine whether the conduct meets a
                    threshold level of materiality. The trial court must then also
                    determine whether the evidence shows a threshold level of intent
                    to mislead the PTO. These threshold determinations are reviewed

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                    by this court for clear error. Once the threshold levels of
                    materiality and intent have been established, the trial court is
                    required to weigh them. In light of all the circumstances, the
                    court must then determine whether the applicant’s conduct is so
                    culpable that the patent should be held unenforceable. We review
                    the district court’s ultimate determination of inequitable conduct
                    under an abuse of discretion standard.

Am. Biocide, 333 F.3d at 1343 (citations omitted) (emphasis added).

          B.        Evidence of Issues to be Decided by the Court are Irrelevant to Jury Issues

          Since the issue of inequitable conduct and the factual determinations of intent and

materiality are issues for the court to decide, any evidence of these issues is irrelevant to the

issues to be decided by the jury and, therefore, should not be presented to the jury. FED. R. EVID.

402. Alternatively, any probative value gained in the admittance of this evidence would be

minuscule at best and would be substantially outweighed by unfair prejudice to Plaintiffs and

confusion of the issues. Such evidence would confuse and distract the jury from the issues it

must decide by injecting an issue that is not for the jury to decide. In Gardco Mfg., Inc. v. Herst

Lighting Co., 820 F.2d 1209, 1213 (Fed. Cir. 1987), for example, the Federal Circuit emphasized

that “the conduct-of-the-applicant-in-the-PTO issue raised in the non-jury trial and the separated

infringement/validity issues are distinct and without commonality either as claims or in relation

to the underlying fact issues.” Therefore, any evidence relating to Plaintiffs’ alleged inequitable

conduct should be excluded pursuant to FED. R. EVID. 403.

          In Pioneer Hi-Bred International, Inc. v. Ottawa Plant Food, Inc., 219 F.R.D. 135, 145

(N.D. Iowa 2003), one of the issues the court addressed was whether to exclude evidence of a

defendant’s equitable defenses in a patent infringement case. There, the Court stated:

                    Furthermore, the court agrees with Pioneer that evidence of or
                    reference to the equitable defenses of laches, estoppel, or waiver
                    must be barred in proceedings in front of the jury. Evidence
                    expressly or only directed to such defenses and express reference
                    to such defenses poses a very real risk of unfair prejudice that

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                    outweighs any probative value such evidence might have to
                    matters properly before the jury, as well as a risk of misleading and
                    confusing the jury. See FED. R. EVID. 403. Specifically, admission
                    of such evidence or reference to such defenses might invite the
                    jury to make a determination on the basis of “equitable”
                    considerations that do not properly enter into any determination
                    that the jury must make.

Id.

          The Court further stated:

                    Exclusion of the evidence expressly or only relating to equitable
                    defenses in front of the jury does not deprive Ottawa of any
                    defense or unfairly prejudice Ottawa. First, the court will hear
                    evidence related to the equitable defenses in proceedings outside
                    the presence of the jury, either on trial days or after the jury trial
                    has concluded. Second, in the interest of judicial economy and
                    economy to the parties, counsel for the parties will be allowed to
                    summarize evidence presented to the jury that is also, in counsel’s
                    view, applicable to the court’s equitable determinations, so that
                    redundant presentation of evidence can be avoided. Third, because
                    Ottawa asserted the equitable claims, it cannot be heard to
                    complain that it is prejudiced by trial of those claims to the court in
                    separate proceedings.

Id. at 145-46.

          Clearly, the same rationale applies here. Evidence of inequitable conduct poses a very

real risk of unfair prejudice to Plaintiffs that outweighs any probative value that such evidence

might have to the matters properly before the jury. See id. Therefore, evidence of inequitable

conduct should be excluded at trial before the jury. Accordingly, this Court should preclude any

argument or evidence in the presence of the jury regarding the issue of inequitable conduct

because the defense of inequitable conduct is not to be tried to the jury.




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                                              II.
                                          CONCLUSION

          This Court should preclude any argument or evidence in the presence of the jury

regarding the issue of inequitable conduct because the defense of inequitable conduct is not to be

tried to the jury.

                                                      Respectfully submitted,


 Date: May 18, 2009                                   DUANE MORRIS LLP


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                                 CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing PLAINTIFFS’ BRIEF IN

SUPPORT OF ITS MOTION IN LIMINE NO. 14 [INEQUITABLE CONDUCT] was served on

the following counsel of record via the Court’s ECF System or first class mail on this the 18th

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